                                                                     1   Debra I. Grassgreen (CA Bar No. 169978)
                                                                         Jeremy V. Richards (CA Bar No. 102300)
                                                                     2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                         150 California Street, 15th Floor
                                                                     3   San Francisco, CA 94111
                                                                         Telephone: (415) 263-7000
                                                                     4   Facsimile:     (415) 263-7010
                                                                         E-mail:        dgrassgree@pszjlaw.com
                                                                     5                  jrichards@pszjlaw.com

                                                                     6   David J. Bradford (IL SBN 0272094) (pro hac vice pending)
                                                                         Catherine L. Steege (IL SBN 6183529) (pro hac vice pending)
                                                                     7   Terri L. Mascherin (IL SBN 6187735) (pro hac vice pending)
                                                                         JENNER & BLOCK LLP
                                                                     8   353 N. Clark Street
                                                                         Chicago, IL 60654-3456
                                                                     9   Telephone: 312/222-9350
                                                                         Facsimile: 312/527-0484
                                                                    10   Email: dbradford@jenner.com
                                                                                 csteege@jenner.com
                                                                    11           tmascherin@jenner.com
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Attorneys for Defendant
                                                                         Uber Technologies, Inc.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                    14                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                                           SAN FRANCISCO DIVISION
                                                                    15
                                                                         In re:                                                  Case No. 20-30242 (HLB)
                                                                    16
                                                                                                                                 Chapter 11
                                                                    17   ANTHONY SCOTT LEVANDOWSKI,

                                                                    18
                                                                                                       Debtor.
                                                                    19

                                                                    20   ANTHONY SCOTT LEVANDOWSKI, an                           Adv. Pro. No. 20-03050 (HLB)
                                                                         individual,
                                                                    21                                                           NOTICE OF APPEARANCE AND
                                                                                                       Plaintiff,                REQUEST FOR NOTICE
                                                                    22
                                                                                      v.
                                                                    23
                                                                         UBER TECHNOLOGIES, INC.
                                                                    24
                                                                                                       Defendant.
                                                                    25

                                                                    26            PLEASE TAKE NOTICE that Pachulski Stang Ziehl & Jones LLP, hereby appears as co-

                                                                    27   counsel for the Defendant, Uber Technologies, Inc., in this adversary proceeding and hereby requests,

                                                                    28   pursuant to Rules 2002, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure, that all notices


                                                                         DOCS_SF:104041.1 85647/001
                                                                     1   given or required to be given and all papers served or required to be served in this case be given to

                                                                     2   and served on the following addresses and through CM/ECF:

                                                                     3                     Debra I. Grassgreen (CA Bar No. 169978)
                                                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                     4
                                                                                           150 California Street, 15th Floor
                                                                     5                     San Francisco, CA 94111
                                                                                           Telephone: (415) 263-7000
                                                                     6                     Facsimile:     (415) 263-7010
                                                                                           E-mail:        dgrassgreen@pszjlaw.com
                                                                     7

                                                                     8            PLEASE TAKE FURTHER NOTICE that the foregoing request includes, without

                                                                     9   limitation, all notices and papers referred to in the rules specified above but also includes all orders

                                                                    10   and notices of any application, complaint or demand, motion, pleading or request, and any other

                                                                    11   documents brought before the Court in this adversary proceeding, whether formal or informal,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   whether written or oral, and whether transmitted or conveyed by mail, hand delivery, telephone,
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   telegraph, facsimile or otherwise.
                                            ATTORNEYS AT LAW




                                                                    14

                                                                    15   Dated:     August 18, 2020                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                    16
                                                                                                                        By      /s/ Debra I. Grassgreen
                                                                    17                                                          Debra I. Grassgreen
                                                                                                                                Attorneys for Uber Technologies, Inc.
                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                         DOCS_SF:104041.1 85647/001
